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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )
                                         )
          v.                             )         No. S1-4:08 CR 538 JCH
                                         )                            DDN
                                         )
MARCO CARDOSO-CISNEROS, et al.,          )
                                         )
                   Defendants.           )

                              MEMORANDUM AND ORDER
      On January 13, 2009, defendant Marco Cardoso-Cisneros appeared
before the court, with counsel, and was arraigned upon the superseding
indictment.      Defendant    Cardoso-Cisneros      is     charged     by   superseding
indictment with 35 counts of conspiracy to defraud, identity theft,
aggravated     identity   theft,   and   possession      of    false   identification
documents.
      Following the arraignment, defendant Cardoso-Cisneros, through
counsel, and personally through an interpreter, orally waived his right
to a pretrial hearing on all of the pretrial motions he had previously
filed, except for the motion to produce the identity of any confidential
informant, Document 46. At that time he voluntarily withdrew all of the
motions previously filed, except Document 46.1


                                   Document 46
      Defendant Cardoso-Cisneros moves for the disclosure of the identity
of the confidential informant and any confidential sources used by the
government.     (Doc. 46.)    In support of this motion, defendant argues
that the investigation report of the St. Charles Police Department
indicates that information was received by the police on September 1,
2008, at 6:30 a.m.



      1
      On January 8, 2009, through counsel, defendant Cardoso-Cisneros
filed a documentary motion to withdraw all motions to suppress and to
proceed only with the motion regarding the confidential informant. (Doc.
72.)
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       In response, the United States states that an informant provided
a tip to the police that defendant Cardoso-Cisneros might be involved
in drug crimes, not the fraudulent conduct at issue in this case.            (Doc.
55.)
       The court understand from the arguments made by the government and
the defendant that, although someone provided a tip to the police, that
person was not a material witness in this case.           That is, the person did
not witness any fact or event that the government will offer into
evidence or seek to prove in its case-in-chief at the defendant’s trial
on the current indictment.
       Under Roviaro v. United States, 353 U.S. 53 (1957), a defendant is
not necessarily    entitled to discovery of an informant's identity.
Rather, the court must balance the defendant's need to know the identity
of the informant with the public's interest in keeping the identity
confidential.   The defendant's need for disclosure might be established
by showing that the informant was a material witness2 to the events to
be proved at trial or that the informant's testimony is crucial to his
defense.   Id. at 64-65; United States v. Feldewerth, 982 F.2d 322, 324
(8th Cir. 1993).       The public interest in preserving the informant's
anonymity and encouraging citizens to report crimes is very strong.
Roviaro, 353 U.S. at 59-62.
       Consequently,
       [t]he burden is on the defendant to show the materiality of
       the need for disclosure of a confidential informant’s
       identity. United States v. Grisham, 748 F.2d 460, 463-64
       (8th Cir. 1984).     That burden requires more than mere
       speculation that the testimony of the informant might prove
       to be helpful to the defense. Id. at 464. United States v.
       Buffington, 815 F.2d 1292, 1299 (9th Cir. 1987). There must
       be some showing that the disclosure is vital to a fair trial.
       United States v. Weir, 575 F.2d 668, 673 (8th Cir. 1978).

United States v. Curtis, 965 F.2d 610, 614 (8th Cir. 1992).


       2
      “[I]f the informant is an active participant in the conduct charged,
the informant’s identity is ‘almost always’ material and thus the
government must ‘make every reasonable effort to have the informant made
available to the defendant.’” United States v. Sanchez, 429 F.3d 753, 756
(8th Cir. 2006)(quoting United State v. Barnes, 486 F.2d 776, 779-80 (8th
Cir. 1973).

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         In this case the government has indicated that the informant did
not witness the events to be proved at trial.              The government indicates
that this is so, because the informant provided a mere tip to the police
regarding criminal activity different from that charged in the instant
superseding indictment. From the record, the undersigned finds that the
informant was not a witness to facts which the government intends to
prove at trial.     No basis for finding that the informant’s testimony
would be relevant or important to the defense was presented to the
court.   Therefore, the privilege of the government to keep the name of
the confidential informant secret is paramount to the need of the
defendant to have this information to prepare his defense.                Roviaro v.
United States, 353 U.S. 53, 59-62 (1957); United States v. Sykes, 977
F.2d 1242, 1245-46 (8th Cir. 1992).          The identity of a mere "tipster"
is not vital to a fair trial and disclosure is not required.                   United
States v. Bourbon, 819 F.2d 859, 860 (8th Cir. 1987).
      This motion will be denied.
      For these reasons,
      IT IS HEREBY ORDERED that the motion of defendant Marco Cardoso-
Cisneros to withdraw his previously filed motions to suppress (Doc. 72)
is sustained.
      IT IS FURTHER ORDERED that Clerk administratively terminate the
following motions because they have been withdrawn:
a.    Doc.   36:   oral   motion   of   defendant    Marco     Cardoso-Cisneros     to
      suppress;
b.    Doc. 47: documentary motion of defendant Marco Cardoso-Cisneros
      for disclosure of expert witness;
c.    Doc. 48: documentary motion of defendant Marco Cardoso-Cisneros to
      exclude certain evidence;
d.    Doc. 50: documentary motion of defendant Marco Cardoso-Cisneros to
      suppress statements; and
e.    Doc. 54: documentary motion of defendant Marco Cardoso-Cisneros to
      suppress physical evidence.
      IT IS FURTHER ORDERED that the still pending motion of appointed
Edward K. Fehlig, Jr., to represent defendant Marco Cardoso-Cisneros


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(Doc. 21), and the still pending motion of defendant to continue
proceedings (Doc. 22) are sustained.
      IT IS FURTHER ORDERED that the oral motion of the government for
a determination by the court of the admissibility or not or arguably
suppressible evidence (Doc. 37) is denied as moot.
      IT IS FURTHER ORDERED that the motion of defendant Marco Cardoso-
Cisneros for disclosure of the confidential informant (Doc. 47) is
denied.
      The parties are advised that they have ten days in which to file
written objections to this Order.         The failure to file timely written
objections may waive the right to appeal issues of fact.




                                           /S/   David D. Noce
                                       UNITED STATES MAGISTRATE JUDGE



Signed on January 15, 2009.




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